                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 RANDEL EDWARD                                      )
 PAGE, JR.,                                         )
                                                    )
          Plaintiff,                                )    No. 3:23-cv-00851
                                                    )
 v.                                                 )    JUDGE CAMPBELL
                                                    )    MAGISTRATE JUDGE NEWBERN
 UNITED STATES OF                                   )
 AMERICA, et al.,                                   )
                                                    )
          Defendants.                               )


                                             ORDER

         Plaintiff Randel Edward Page, Jr., filed a pro se Complaint against the United States of

America and six additional Defendants under 42 U.S.C. § 1983 and other federal laws. (Doc. No.

1). Because Plaintiff paid the filing fee, there is no further screening of the Complaint. Benson v.

O’Brian, 179 F.3d 1014, 1017 (6th Cir. 1999). Accordingly, this action is REFERRED to the

Magistrate Judge to enter a scheduling order for the management of the case, dispose or

recommend disposition of any pretrial motions under 28 U.S.C. §§ 636(b)(1)(A) and (B), and

conduct further proceedings, if necessary, under Rule 72 of the Federal Rules of Civil Procedure

and the Local Rules of Court.

         Plaintiff is responsible for effecting service of process on Defendants in accordance with

Federal Rule of Civil Procedure 4. Failure to timely complete service of process will result in

dismissal of this action. Fed. R. Civ. P. 4(m). In addition, Plaintiff must keep the Court informed

of his current mailing address at all times or face dismissal for want of prosecution. Fed. R. Civ.




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P. 41(b); Local Rule 41.01(b). Additional resources for pro se litigants, including forms,

handbooks, and information sheets, are available on the Court’s website.

       It is so ORDERED.




                                            ________________________________
                                            WILLIAM L. CAMPBELL, JR.
                                            UNITED STATES DISTRICT JUDGE




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